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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                Case No. 12-cr-384-T-17EAJ

   MAURICE J. LARRY

               FORFEITURE MONEY JUDGMENT AND PRELIMINARY
        ORDER OF FORFEITURE FOR DIRECT AND SUBSTITUTE ASSETS

         THIS CAUSE comes before the Court upon the United States' Motion for:

          (1)    A Forfeiture Money Judgment in the amount of $181,890.10;

          (2)    A Preliminary Order of Forfeiture for the following property which was

   purchased with the defendant's criminal proceeds:

                 a.     a 2010 Chevrolet Camaro, Vehicle Identification Number
                        2G1FK1EJXA9187100, titled to Corrie Antonio Jones;

                 b.     a 2010 Chevrolet Camaro, Vehicle Identification Number
                        2G1FK1EJ6A9202806, titled to Michelle Rena Haywood; and

                 c.     a 2011 TAO MC silver motor scooter, Vehicle Identification
                        Number L9NTCAPA7B1001170, titled to Terrence Dixon; and

          (3)    A Preliminary Order of Forfeiture for the following property, as

   substitute assets in partial satisfaction of the defendant's forfeiture money

   judgment:

                 a.     a 1986 Chevrolet Monte Carlo, Vehicle Identification Number
                        1G1GZ37G4GR114526, titled to Cheryl Beatrice Gamble;
                        and

                 b.     assorted jewelry and laptop computers seized from a storage
                        unit in September 2012.
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          Being fully advised of the relevant facts, the Court hereby finds that the

   defendant obtained at least $181,890.10 in proceeds from the conspiracy, wire

   fraud scheme, and access device fraud to which he pled guilty, and that the assets

   identified in paragraph two above represent proceeds directly traceable to those

   crimes.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States' motion is GRANTED.

          It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C),

   982(a)(2)(B), 1029(c)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the

   Federal Rules of Criminal Procedure, the defendant shall be held jointly and

   severally liable with any subsequently convicted co-conspirators for a forfeiture

   money judgment in the amount of $181,890.10.

          It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C),

   982(a)(2)(B), 1029(c)(1)(C), 21 U.S.C. § 853(p), 28 U.S.C. § 2461(c), Rule

   32.2(b)(2), and Rule 32.2(e)(1)(B), the assets identified in paragraphs two and

   three above are hereby forfeited to the United States for disposition according to

   law.

          It is FURTHER ORDERED that, the net proceeds of the specific assets

   forfeited be credited toward the defendant's forfeiture money judgment.
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          It is FURTHER ORDERED that, upon entry of this order, it shall become a

   final order of forfeiture as to the defendant.

          The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, to enter any further order necessary for the

   forfeiture and disposition of such property, and to order any other substitute assets

   forfeited to the United States up to the amount of the forfeiture money judgment.

          DONE and ORDERED in Tampa, Florida, this           //"&L^ day
   of    3uHA^e.                     ,2013.




   Copies to:
   Natalie Hirt Adams, AUSA
   Counsel of Record
